          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                           CIVIL NO. 1:06CV336
                              (1:02CR105-6)


ANTHONY ALLEN LEMAY,                      )
                                          )
                        Petitioner,       )
                                          )
            vs.                           )           ORDER
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                        Respondent.       )
                                          )

      THIS MATTER is before the Court on the Petitioner's motion to

vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255 filed

October 11, 2006.

      After review of the motion, the Court finds the United States should

file response to the issues raised therein.

      IT IS, THEREFORE, ORDERED that the United States file answer to

the petition filed herein on or before 120 days from service of this Order.




   Case 1:02-cr-00105-MR-WCM     Document 370    Filed 03/13/07   Page 1 of 2
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                                Signed: March 12, 2007




Case 1:02-cr-00105-MR-WCM   Document 370   Filed 03/13/07   Page 2 of 2
